          Case 3:09-cr-01336-JAH                       Document 593                Filed 06/11/14              PageID.2085               Page 1 of 2


     'AO 245B (CASD) (Rev 4[J4) Judgment in a Criminal Case
                Sheet I



                                              UNITED STATESDISTRlCT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November 1, 1987)

                          Christopher Robert Ball -12                              Case Number: 09-cr-01336-JAH-12

                                                                                    Casey J Donovan Jr
                                                                                   Defendant's Attorney
    REGISTRATION NO. 16091298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) One of the Superseding Information.

     o was found guilty on count(s)I_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                         Nature of Offense                                                                              Number(s)
21:841(a)(l); ]8:2;                    Possession of Marijuana With Intent to Distribute; Aiding and Abetting                               I
21:853(a)(1)




        The defendant is sentenced as provided in pages 2 through     2    of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of ] 984.
      The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 181 Count(s)..;.re.::m.::,a.::i.::,ni.::n:;:.g_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is D arel8l dismissed on the motion of the United States.
 181 Assessment: $100.00.

 181 No fine                                        o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                   lTED STATES DISTRICT JUDGE



                                                                                                                                          09-cr-01336-JAH-12
    Case 3:09-cr-01336-JAH                        Document 593       Filed 06/11/14        PageID.2086           Page 2 of 2


AO 2458 (CASD) (Rev. 4114)   Judgment in a Criminal Case
            Sheet 2   Imprisonment

                                                                                            Judgment   Page _..;;2_ of        2
 DEFENDANT: Christopher Robert Ball -12
 CASE NUMBER: 09-tr-01336..JAH-12
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         Time served.



    o Sentence imposed pursuant to Title USC Section
                                                   8          1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.    Op.m.       on
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before --------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                     By __________~~~~~~~~~~~-------------
                                                                                      DEPlITY UNITED STATES MARSHAL




                                                                                                               09-cr-01336..JAH-12
